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EXhibit 1 to Order

DOCS_DE:219177.2 82828/003

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

In re Chapter ll

TK HOLDINGS INC., et al. Case No. 17-11375 (BLS)
Debtors. l Jointly Adrninistered

Automotive Coalition for Traffic Safety, Inc., Adv. Pro. No. 18-50274 (BLS)
Plaintiff,

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. . . RE: Doc. Nos. 1, 12, 13, 20, 21, 28 and 28
Joseph J. Farnan, Jr., not individually but solely as

Trustee of the Reorganized TK Holdings Trust,
Defendant, and Joyson Safety Systems Acquisition
LLC,

 

Defendants.
STIPULATION BY AND BETWEEN AUTOMOTIVE COALITION F()R TRAFFIC
SAFETY, INC., JOSEPH J. FARNAN, JR., NOT INDIVIDUALLY BUT SOLELY AS

TRUSTEE 0F THE REORGANIZED TK HOLDINGS TRUST,
AND JOYSON SAFETY SYSTEMS ACOUISITION LLC
This stipulation (the “Stipulation”) is made and entered into by and between Plaintiff
Autornotive Coalition for Traffic Safety, Inc. (“ACTS”), Defendant Joseph J. Farnan, Jr., not
individually but solely as Trustee of the Reorganized TK Holdings Trust (the “Trust”) as
successor in interest to Defendant TK Holdings Inc. (“TKH” or the Trust (as applicable)), and

Joyson Safety Systems Acquisition LLC ("Joyson" and, together with ACTS and the Trust, the

“Parties”), by and through their respective undersigned counsel.

 

l The Debtors in these chapter ll cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
Holdings Inc. (3416); Takata Protection Systems Inc. (3 881); Interiors in Flight Inc. (4046); TK Mexico lnc. (8331);
TK Mexico LLC (9029); TK Holdings de Mexico S. de R.L. de C.V. (N/A); Indusn'ias Irvin de Mexico, S.A. de
C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter ll
cases. The location of the Debtors’ corporate headquarters is 2500 Takata Drive, Auburn Hills, Michigan 48326.

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RECITALS

WHEREAS, on February l, 2018, ACTS initiated the above~captioned adversary
proceeding (the “Adversa)y Proceeding”) by filing the Complaint [Adv. D.I. No. l (the
“Complaint”); and

WHEREAS, on February 21, 2018, the Court entered an order [D.l. No. 2120]
confirming (the “Confirmation Order”) the Fifth Amended Joint Chapter 11 Plan of
Reorganization of TK Hola'ings and its Aj‘iliated Debtors [D.I. No. 2116] (the “Plan”)l; and

WHEREAS, on April 10, 2018, the Plan became effective (the “Ej]”ective Date”) [D.I.
No. 2646]; and

WHEREAS, Joyson claims an interest in the intellectual property at issue in this
adversary proceeding, and has accordingly agreed with ACTS and the Trust, subject to the
Court's approval, to intervene as a defendant in this adversary proceeding; and

WHEREAS, in light of the recent Effective Date and the Parties’ ongoing settlement
negotiations, the Parties Wish to further extend the Complaint response deadline and reschedule
the Pretrial Conference.

NOW THEREFORE, THE PARTIES, BY AND THROUGH THEIR RESPECTIVE
UNDERSIGNED COUNSEL, HEREBY STIPULATE AND AGREE AS FOLLOWS:

l. Joyson hereby intervenes as a defendant in this adversary proceeding pursuant
to Rule 24 of the Federal Rules of Civil Procedure, as made applicable by Federal Rule of

Bankruptcy Procedure 7024, and ll U.S.C. § 1109(b).

2. The deadline to answer, or otherwise respond to, the Complaint is extended to
June 8, 2018.
3. The Pretrial Conference is continued to June 26, 2018.

 

1 Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such terms in the Plan.

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4. Except as expressly set forth herein, each of the Parties reserves all of its rights
and remedies under the Bankruptcy Code, the Bankruptcy Rules, and all other applicable law.

5. Each person who executes this Stipulation by or on behalf of each respective
Party warrants and represents that he or she has been duly authorized and empowered to execute
and deliver this Stipulation on behalf of such Party.

6. This Stipulation shall constitute the entire agreement between the Parties hereto
regarding the matters addressed herein. No extrinsic or parol evidence may be used to vary any
of the terms herein. All representations, warranties, inducements, and/or statements of intention
made by the Parties are embodied in this Stipulation, and no party hereto relied upon, shall be
bound by, or shall be liable for any alleged representation, warranty, inducement, or statement of
intention that is not expressly set forth in this Stipulation.

7. This Stipulation may be executed in any number of counterparts, each of which
shall be deemed an original, and all of which when taken together shall constitute one and the

same document, with facsimile and .pdf signature pages deemed to be originals.

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Dated: Wilmington, Delaware
May 11, 2018

/s/ Peter J. Keane

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